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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 UNITED STATES OF AMERICA,                       )
   Plaintiff,                                    )
                                                 )

 vs.                                             )   Case No. A-16-CR-324(l)-SS
                                                 )

 BRIAN HANEY,                                    )
   Defendant.                                    )

                                             ORDER

         On this date came on to be considered Plaintiff's Motion to Apply Funds Held by the Clerk

of Court to Criminal Monetary Obligations (the "Motion"). (Doc. No. 41           ). The Court has

carefully considered the Motion, notes that the Defendant agrees to the relief sought and finds that

it should be granted.

         Accordingly, it is this day ORDERED that the Motion is GRANTED.

         IT IS ORDERED that Clerk of Court shall apply the funds being held in the registry

towards the Defendant's criminal monetary obligations.

         IT IS SO ORDERED.



Dated:                                         73
                                          SAM SPARKS       /1
                                          SENIOR UNITED STAVIES DISTRICT JUDGE




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